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                            UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF NEW JERSEY

NATHAN ROWAN, individually and on behalf
of all others similarly situated,                     Case no.

                       Plaintiff,
                                                      CLASS ACTION
       v.
                                                      JURY DEMAND
US DEALER SERVICES, INC., a New Jersey
corporation,
                       Defendant.

            CLASS ACTION COMPLAINT AND DEMAND FOR JURY TRIAL

       Plaintiff Nathan Rowan (“Plaintiff” or “Plaintiff Rowan”) brings this Class Action

Complaint and Demand for Jury Trial against Defendant US Dealer Services, Inc. (“US Dealer

Services”), to stop the Defendant from violating the Telephone Consumer Protection Act

(“TCPA”) by making unsolicited calls to consumers who registered their phone numbers on the

National Do Not Call Registry (“DNC”), and to otherwise obtain injunctive and monetary relief

for all persons injured by Defendant’s actions. Plaintiff alleges as follows upon personal

knowledge as to himself and his own acts and experiences, and, as to all other matters, upon

information and belief, including investigation conducted by his attorneys.

                                           PARTIES

       1.      Plaintiff Rowan is an East Rochester, New York resident.

       2.      Defendant US Dealer Services is a New Jersey incorporated corporation

headquartered in Van Nuys, California. US Dealer Services conducts business throughout this

District and the United States.



                                    JURISDICTION AND VENUE
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        3.      This Court has federal question subject matter jurisdiction over this action under 28

U.S.C. § 1331, as the action arises under the TCPA.

        4.      This Court has personal jurisdiction over Defendant and venue is proper in this

District under 28 U.S.C. § 1391(b) because Defendant is incorporated in this District and does

business in this District.

                             TELEMARKETING INTRODUCTION

        5.      As the Supreme Court recently explained, “Americans passionately disagree about
many things. But they are largely united in their disdain for robocalls. The Federal Government
receives a staggering number of complaints about robocalls—3.7 million complaints in 2019
alone. The States likewise field a constant barrage of complaints. For nearly 30 years, the people’s
representatives in Congress have been fighting back.” Barr v. Am. Ass'n of Political Consultants,
No. 19-631, 2020 U.S. LEXIS 3544, at *5 (U.S. July 6, 2020).
        6.      The National Do Not Call Registry provides for consumers to register their
telephone numbers and thereby indicate their desire not to receive telephone solicitations at those
numbers. See 47 C.F.R. § 64.1200(c)(2).
        7.      A listing on the DNC “must be honored indefinitely, or until the registration is
cancelled by the consumer or the telephone number is removed by the database administrator.” Id.
        8.      When Congress enacted the TCPA in 1991, it found that telemarketers called more
than 18 million Americans every day. 105 Stat. 2394 at § 2(3).
        9.      By 2003, due to more powerful autodialing technology, telemarketers were calling
104 million Americans every day. In re Rules and Regulations Implementing the TCPA of 1991,
18 FCC Rcd. 14014, ¶¶ 2, 8 (2003).
        10.     The problems Congress identified when it enacted the TCPA have only grown
exponentially in recent years.
        11.     Industry data shows that the number of robocalls made each month increased from
831 million in September 2015 to 4.7 billion in December 2018—a 466% increase in three years.


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        12.    According to online robocall tracking service “YouMail,” 4.9 billion robocalls were
placed in March 2021 alone, at a rate of 159.4 million per day. www.robocallindex.com (last

visited April 20, 2021).
        13.    The FCC also has received an increasing number of complaints about unwanted
calls, with 150,000 complaints in 2016, 185,000 complaints in 2017, and 232,000 complaints in
2018. FCC, Consumer Complaint Data Center, www.fcc.gov/consumer-help-center-data.
        14.    “Robocalls and telemarketing calls are currently the number one source of
consumer complaints at the FCC.” Tom Wheeler, Cutting off Robocalls (July 22, 2016), statement
of FCC chairman.1
        15.    “The FTC receives more complains about unwanted calls than all other complaints
combined.” Staff of the Federal Trade Commission’s Bureau of Consumer Protection, In re Rules
and Regulations Implementing the Telephone Consumer Protection Act of 1991, Notice of
Proposed Rulemaking, CG Docket No. 02-278, at 2 (2016).2


                       INTRODUCTION TO US DEALER SERVICES

        16.    US Dealer Services sells extended car warranty plans to consumers.3

        17.    US Dealer Services engages in telemarketing in order to solicit the sales of extended

car warranty plans.

        18.    These calls are being placed to consumers, like Plaintiff, who (1) registered their

telephone numbers with the DNC, (2) do not have an existing business relationship with the

Defendant, (3) did not provide prior express written consent to be called.




1
  https://www.fcc.gov/news-events/blog/2016/07/22/cutting-robocalls
2
  https://www.ftc.gov/system/files/documents/advocacy_documents/comment-staff-ftc-bureau-
consumer-protection-federal-communications-commission-rules-
regulations/160616robocallscomment.pdf
3
  http://www.usdealerservices.com/index.php/about

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        19.       The US Dealer Services Better Business Bureau (“BBB”) page is filled with

complaints from consumers about unsolicited calls from US Dealer Services, including complaints

from people who have registered their phone numbers with the DNC. This is a small sample of

those BBB complaints:




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              •                                                                               6




4
  https://www.bbb.org/us/ca/van-nuys/profile/auto-service-contract-companies/us-dealer-
services-inc-1216-358292/complaints
5
  Id.
6
  Id.

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                                PLAINTIFF ROWAN’S ALLEGATIONS
          20.       Plaintiff Rowan registered his phone number with the DNC on June 4, 2005.

          21.       Plaintiff Rowan uses his phone number for personal use only. It is not associated

with a business.

          22.       On January 12, 2021 at 7:06 PM, Plaintiff Rowan received an unsolicited call to his

phone from Defendant US Dealer Services, from phone number 218-865-8516.

          23.       When Plaintiff answered this call, he heard dead air until the call disconnected

automatically.

          24.       218-865-8516 appears to be a spoofed number.

          25.       On January 15, 2021 at 2:49 PM Plaintiff Rowan received another call to his cell

phone from US Dealer Services, from phone number 218-865-8517.

          26.       This call was not answered, and no voicemail was left.

          27.       218-865-8517 appears to be a spoofed number.

          28.       On January 19, 2021 at 12:16 PM Plaintiff Rowan received another call to his phone

from US Dealer Services, from phone number 218-865-8518.

          29.       This call was not answered, and no voicemail was left.

          30.       218-865-8518 appears to be a spoofed number.



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    Id.

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       31.    On January 20, 2021 at 2:48 PM Plaintiff Rowan received another call to his phone

from US Dealer Services, from phone number 218-865-8517.

       32.    This call was not answered, and no voicemail was left.

       33.    On January 21, 2021 at 6:18 PM, Plaintiff Rowan received another unsolicited call

from US Dealer Services, from phone number 218-865-8517.

       34.    Plaintiff answered this call and heard a loud “bloop” sound before a live employee

came on the line.

       35.    During the solicitation call, the employee identified himself as “Andrew Hermann”.

       36.    Hermann marketed an extended car warranty plan to Plaintiff.

       37.    In order to determine the identity of the company repeatedly telemarketing to him,

Plaintiff Rowan played along and agreed to purchase the extended car warranty plan.

       38.    Plaintiff was transferred to an employee named “Rob” who verified the details of

the warranty plan and processed Plaintiff’s payment information.

       39.    Shortly after purchasing the warranty plan, Plaintiff received an email from

pomdriving.com showing that US Dealer Services sold the plan to Plaintiff Rowan:




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        40.     When Plaintiff received the warranty paperwork in the mail, US Dealer Services

was clearly shown as the seller of the plan:




        41.     In addition, US Dealer Services is listed as the payee on Plaintiff’s bank account

for this transaction.




        42.     Plaintiff Rowan never consented to receiving solicitation calls from Defendant US

Dealer Services.


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       43.     Plaintiff was not looking an extended car warranty.

       44.     The unauthorized telephone calls made by Defendant, as alleged herein, have

harmed Plaintiff Rowan in the form of annoyance, nuisance, and invasion of privacy, and disturbed

the use and enjoyment of his phone, in addition to the wear and tear on the phone.

       45.     Seeking redress for these injuries, Plaintiff Rowan, on behalf of himself and a Class

of similarly situated individuals, bring suit under the Telephone Consumer Protection Act, 47

U.S.C. § 227, et seq., which prohibits unsolicited telemarketing calls to phone numbers that are

registered with the DNC.

                                 CLASS ALLEGATIONS
                 Class Treatment Is Appropriate for Plaintiff’s TCPA Claim

       46.     Plaintiff Rowan brings this action pursuant to Federal Rules of Civil Procedure

23(b)(2) and 23(b)(3) and seek certification of the following Class:

              Do Not Call Registry Class: All persons in the United States who from four
              years prior to the filing of this action through class certification (1)
              Defendant (or an agent acting on behalf of Defendant) called more than one
              time, (2) within any 12-month period, (3) where the person’s telephone
              number had been listed on the National Do Not Call Registry for at least
              thirty days, (4) for the same purpose Defendant called Plaintiff.

       47.     The following individuals are excluded from the Class: (1) any Judge or Magistrate

presiding over this action and members of their families; (2) Defendant, its subsidiaries, parents,

successors, predecessors, and any entity in which Defendant or its parents have a controlling

interest and their current or former employees, officers and directors; (3) Plaintiff’s attorneys; (4)

persons who properly execute and file a timely request for exclusion from the Class; (5) the legal

representatives, successors or assigns of any such excluded persons; and (6) persons whose claims

against Defendant have been fully and finally adjudicated and/or released. Plaintiff Rowan

anticipates the need to amend the Class definitions following appropriate discovery.



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       48.     Numerosity: On information and belief, there are thousands of members of the

Class such that joinder of all members is impracticable.

       49.     Commonality and Predominance: There are many questions of law and fact

common to the claims of Plaintiff Rowan and the Class, and those questions predominate over any

questions that may affect individual members of the Class. Common questions for the Class

include, but are not necessarily limited to the following:

               a. whether Defendant US Dealer Services placed multiple solicitation calls to

                   Plaintiff and members of the Do Not Call Registry class;

               b. whether US Dealer Services made those calls without prior express written

                   consent; and

               c. whether Defendant’s conduct was willful or knowing, entitling the class to

                   treble damages.

       50.     Adequate Representation: Plaintiff Rowan will fairly and adequately represent

and protect the interests of the Class, and has retained counsel competent and experienced in class

actions. Plaintiff Rowan has no interests antagonistic to those of the Class, and the Defendant has

no defenses unique to Plaintiff. Plaintiff Rowan and his counsel are committed to vigorously

prosecuting this action on behalf of the members of the Class, and have the financial resources to

do so. Neither Plaintiff Rowan nor his counsel have any interests adverse to the Class.

       51.     Appropriateness: This class action is also appropriate for certification because the

Defendant has acted or refused to act on grounds generally applicable to the Class as a whole,

thereby requiring the Court’s imposition of uniform relief to ensure compatible standards of

conduct toward the members of the Class and making final class-wide injunctive relief appropriate.

Defendant’s business practices apply to and affect the members of the Class uniformly, and




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Plaintiff’s challenge of those practices hinges on Defendant’s conduct with respect to the Class as

a whole, not on facts or law applicable only to Plaintiff. Additionally, the damages suffered by

individual members of the Class will likely be small relative to the burden and expense of

individual prosecution of the complex litigation necessitated by Defendant’s actions. Thus, it

would be virtually impossible for the members of the Class to obtain effective relief from

Defendant’s misconduct on an individual basis. A class action provides the benefits of single

adjudication, economies of scale, and comprehensive supervision by a single court.

                                FIRST CAUSE OF ACTION
                             Telephone Consumer Protection Act
                                 (Violations of 47 U.S.C. § 227)
                    (On Behalf of the Plaintiff and the Do Not Registry Class)

       52.     Plaintiff Rowan repeats and realleges paragraphs 1 through 51 of this Complaint

and incorporates them by reference.

       53.     The TCPA’s implementing regulation, 47 C.F.R. § 64.1200(c), provides that “[n]o

person or entity shall initiate any telephone solicitation” to “[a] residential telephone subscriber

who has registered her or her telephone number on the national do-not-call registry of persons who

do not wish to receive telephone solicitations that is maintained by the federal government.”

       54.     Any “person who has received more than one telephone call within any 12-month

period by or on behalf of the same entity in violation of the regulations prescribed under this

subsection may” may bring a private action based on a violation of said regulations, which were

promulgated to protect telephone subscribers’ privacy rights to avoid receiving telephone

solicitations to which they object. 47 U.S.C. § 227(c).

       55.     Defendant violated 47 C.F.R. § 64.1200(c) by initiating, or causing to be initiated,

telephone solicitations to telephone subscribers such as the Plaintiff and the Do Not Call Registry

Class members who registered their respective telephone numbers on the National Do Not Call



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Registry, a listing of persons who do not wish to receive telephone solicitations that is maintained

by the federal government.

       56.      Defendant violated 47 U.S.C. § 227(c)(5) because Plaintiff and the Do Not Call

Registry Class received more than one telephone call in a 12-month period made by or on behalf

of the Defendant in violation of 47 C.F.R. § 64.1200, as described above.

       57.      As a result of Defendant’s conduct as alleged herein, Plaintiff and the Do Not Call

Registry Class suffered actual damages and, under section 47 U.S.C. § 227(c), are entitled, inter

alia, to receive up to $500 in damages for such violations of 47 C.F.R. § 64.1200.

       58.      To the extent Defendant’s misconduct is determined to be willful and knowing, the

Court should, pursuant to 47 U.S.C. § 227(c)(5), treble the amount of statutory damages

recoverable by the members of the Do Not Call Registry Class.

                                      PRAYER FOR RELIEF
       WHEREFORE, Plaintiff Rowan, individually and on behalf of the Class, pray for the
following relief:
      a)       An order certifying this case as a class action on behalf of the Class as defined

            above; appointing Plaintiff Rowan as the representative of the Class; and appointing his

            attorneys as Class Counsel;

      b)        An award of actual and/or statutory damages and costs;

      c)        An order declaring that Defendant’s actions, as set out above, violate the TCPA;

      d)        An injunction requiring Defendant to cease all unsolicited calling activity, and to

            otherwise protect the interests of the Class; and

       e)       Such further and other relief as the Court deems just and proper.

                                          JURY DEMAND

       Plaintiff Rowan requests a jury trial.


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                                   Respectfully Submitted,

                                   NATHAN ROWAN, individually and on behalf of
                                   all others similarly situated


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